                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:04-CR-201-MU

UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                         ORDER
VINTAGE PHARMACEUTICALS,            )
INC., WILLIAM PROPST, SR.,          )
WILLIAM PROPST, JR., and            )
QUALITEST PHARMACEUTICALS, )
INC.                                )
                                    )
      Defendants.                   )
____________________________________)


       This matter is before the Court to correct an error in its August 19, 2005 Order continuing
the trial in the above captioned matter to April 4, 2006 (file doc. 140). The August 19, 2005
Order mistakenly listed the trial date as April 4, 2005. This typographical error is corrected by
this Order, and the trial date is April 4, 2006 as was agreed upon by all parties in open court.
       IT IS THEREFORE ORDERED that the above captioned case is continued to April 4,
2006 as to all defendants.




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                        Signed: August 26, 2005




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